           IN THE DISTRICT COURT OF THE UNITED STATES
          FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                        ASHEVILLE DIVISION

                          CRIMINAL NO. 1:06CR42


UNITED STATES OF AMERICA                    )
                                            )
                                            )
                   VS.                      )            ORDER
                                            )
                                            )
WILLIAM LEE SPENCER                         )
                                            )


      THIS MATTER is before the Court on Defendant’s motion to correct

a clerical error in his Judgment pursuant to Fed. R. Crim. P. 36. The

Government has advised the Court that it has no objections to the relief

sought.

      Rule 36 provides that the Court “may at any time correct a clerical

error in a judgment, order, or other part of the record[.]” Fed. R. Crim. P.

36. Therefore, for the reasons stated in the Defendant’s motion, the Court

will direct the Clerk correct the clerical error identified therein.

      IT IS, THEREFORE, ORDERED that the Defendant’s motion to

correct a clerical error in his Judgment is ALLOWED.




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      IT IS FURTHER ORDERED that the Clerk prepare an amended

judgment correcting 1) “Title and Section” should read, “18:371 & 2320;”

and 2) “Nature of Offense” should read, “Conspiracy to Traffic and

Attempt to Traffic in Counterfeit Goods.” All remaining terms and

conditions of the original Judgment remain in full force and effect.

                                      Signed: August 20, 2009




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